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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-60105-CIV-SMITH

 INDIANA ALEMAN,

           Plaintiff,
 v.

 ARSTRAT, LLC,

       Defendant.
 _________________________________/

                             ORDER OF REFERRAL TO MEDIATION

           Trial having been set in this matter under separate order of the Court, and pursuant to

 Federal Rule of Civil Procedure 16(c)(2)(I) and Southern District Local Rule 16.2, it is hereby

           ORDERED as follows:

               1. All parties must participate in mediation by September 10, 2020.

               2. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and any

 unrepresented parties, shall be responsible for scheduling the mediation conference.

               3. By May 26, 2020 the parties shall file a Notice of Scheduling Mediation, setting

 out the name of the mediator and the date, time, and place for the mediation. The mediation date

 may not be extended without prior court approval. If at any time the mediation date is rescheduled,

 the parties must file a new Notice of Scheduling Mediation.

               4. Except as provided under Local Rule 16.2(e) for public-sector entities, the

 appearance of counsel and each party or representatives of each party with full authority to enter

 into a full and complete compromise and settlement is mandatory. If insurance is involved, an

 adjustor with authority up to the policy limits or the most recent demand, whichever is lower, shall

 attend.
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            5. The Court may impose sanctions against parties and/or counsel if mediation is not

 conducted or for failure to comply with any other requirement or term of this Order.

            6. If a full or partial settlement is reached in this case, counsel shall promptly notify

 the Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a notice of

 settlement signed by counsel of record within fourteen (14) days of the mediation conference.

 Thereafter the parties shall submit appropriate papers concluding the case. The case will remain

 on the trial calendar until an order dismissing the action is entered by the Court.

            7. Within seven (7) days following the mediation conference, the mediator shall file

 a Mediation Report indicating whether all required parties were present. The report shall also

 indicate whether the case settled (in full or in part), was continued with the consent of the parties,

 or whether the mediator declared an impasse. It shall be the responsibility of the parties to

 ensure that the mediator timely files the mediation report.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 5th day of May, 2020.




 Copies to:
 Counsel of Record
